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    EXHIBIT A
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                                                                                    COURT OF COMMON PLEAS
BETHANN MORRISON                                                                    PHlLADELPHIA COUNTY , PA
              Plaintiff ,                                                           CIVIL ACTION--LA W

V.                                                                                  MAY TERM 2020
                                                                                    NO. 00768
TEMPLE UN1VERSITY and
HOSEA H . HARVEY, Ill                                                               JURY TRIAL DEMA ND
              Defendants




                                                              NOTICE TO DEFEND



                                                                                                       AVISO
                              NOTICE
                                                                              Le han dem andado a usted en la cortc. Si usted qu iere
 You have been sued in court. If you wish to defend against the
                                                                              defenderse de esta s demandas expue sta s en las pagina s
 claims set forth in the following pages, you mu st take action within
                                                                              sigui ente s, usted tiene veinte (20) dias de plaw al par tir de
 twenty (20) days after this complaint and notice are se rved , by
                                                                              la fecha de la demanda y la notificacion . Hace falt a
 entering a written appearance per sonally or by attorney and filin g
                                                                              ascentar una comparencia cscrita o e n persona u con un
 in writing with t he court yo ur defenses or objections to the claim s
                                                                              abogado y, entregar a la corte en forma escrita sus
 set forth against you . You a re warned that if you fail to do so the
                                                                              defcnsas o sus objeciones a las demanda s en contra de su
 case may proceed without you and a judgment may be entered
                                                                              persona . Sea avisado que si usted no se defi end e, la cortc
 aga inst you by th e co urt without further notice for any money
                                                                              tomara medida s y puede continuar la demanda en con tra
 cla imed in the complaint of for a ny other claim or relief requested
                                                                              suya sin previo avi so o notificacion.        Adema s, la cor le
 by the plaintiff. You ma y lose money or property or other ri ght s
                                                                               puede decider a favor del demandante y requi er e quc
 import a nt to yo u.                                                          usted cumpla con toda s las provisione s de esta demancla .
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                      Philadelphia Bar Association                                                     De Filadelfia
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                          One Reading Center                                                     One Reading Center
                    Philadelphia, Pennsylvania 19107                                        Filadelfia, Penns ylvani a 19107
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BETHANN MORRISON                                            COURT OF COMMON PLEAS
                                                            PHILADELPHIA COUNTY , PA
                        Plaintiff,
                                                            CIVIL ACTION-LAW
               V.
                                                            MAY TERM 2020
TEMPLE UNIVERSITY and                                       NO. 00768
HOSEA H. HARVEY, III
                                                            JURY TRIAL DEMAND
                        Defendants .


                                 COMPLAINT - CIVIL ACTION

        Plaintiff BethAnn Morrison, pro se, brings this action against Defendants Temple
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University ("Temple" or "the University") and Professor Hosea H. Harvey, III ("Professor

Harvey") and on information and belief avers the following:

                                           INTRODUCTION

        1.      For four years while Plaintiff was a student at Temple University, Professor

Hosea H. Harvey, III engaged in an escalating pattern of sexual harassment that culmin ated in

 the sexual assault, assault and battery, and false imprisonment of Plaintiff on May 15-16, 2018 .

        2.      Professor Harvey forced Plaintiff to ingest an unknown substance that rendered

 her unable to repel his sexual advances and escape from the room in which he held her.

        3.      Professor Harvey engaged in sexual acts and sexual intercourse with Plaintiff

 without her consent.
        4.      Following the sexual assault by Professor Harvey, Plaintiff filed a Title IX

 complaint against Professor Harvey at Temple University.
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       5.      When Plaintiff refused to withdraw her Title IX complaint at Professor Harvey's

request, Professor Harvey retaliated against Plaintiff by making untrue and derogatory comments

about Plaintiff to the Pennsylvania Bar Examiners, which resulted in Plaintiff being delayed

admission to the Pennsy lvania Bar for an additional eight months after she passed the

Pennsy lvania Bar Examina tion.

        6.      As a result of Professor Harvey's conduct, Plaintiff suffered great physical ,

 emotional, and psychological harm that severely impacted Plaintiff' s daily life and career.

        7.      Plaintiff brings this action to recover compensatory and punitive damages for the

 needless and cruel harm that has been visited on her by Professor Harvey .

                                                 PARTIES

        8.      Plaintiff BethAnn Morrison is an adult individual who currently reside s in

 Philadelphia, Pennsylvania.

        9.      Hosea H. Harvey, III is an adult individual who, at all time relevant to the

 incidents alleged in this complaint, resided in Philadelphia, Pennsylvania and was employed as a

 Professor in Philadelphia, Pennsylvania at Temple University. He currently resides at 256 E.

 Roanoke Street, Seattle, WA 98102.

         10.    Temple University is an institution of higher education located in Philad elphia,

 Pennsylvania and was the employer of Professor Harvey at all times relevant to the claims of this

 complaint.

         11.    Any and all claims between Plaintiff and Temple University arising from the

 circumstances set forth in this compl aint have been resolved to the satisfaction of Plaintiff and

Temple University alike. Plaintiff and Temple University have jointl y signed and filed a

stipulation acknow ledging the settlemen t of all outstanding issues betwee n them and seeking to
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have Temple University removed as a Defendant in this action. Th e parties respectfully await

entry of an order by this Honorable Court to effectuat e same.

                                       JURISDICTION AND VENUE

        12.     This Court has jurisdiction over this action as it is a court of general jurisdic tion

 in the Commonwealth of Pennsylvania.

         13.    This Court has personal jurisdiction over Professor Harvey under 42 Pa .C.S .A.

 §5322. Professor Harvey had substantial contacts with this jurisdiction at the time of the

 incidents alleged herein, including being domiciled in Philadelphia , Pennsylvania and emplo yed

 in Philadelphia , Pennsylvania by Temple University.

        14.     This Court has personal jurisdiction over Temple University because Temple

 University is domiciled in Pennsylvania and conducts business there.

         15.    Venue is proper in Philadelphia County, Pennsylvania because the injuries for

 which Plaintiff seeks redress were inflicted while Defendants were domiciled and conducting

 business in Philadelphia , Pennsylvania . Plaintiff was also domiciled in Philadelphia ,

 Pennsylvania at all times relevant to this complaint and suffered injuries arising from the

Defendant Harvey ' s conduct within the Commonwealth of Pennsylvania.

                                              JURY DEMAND

        16.     Plaintiff demands a trial by jury in this action

                                       FACTUAL BACKGROUND

        17.     Plaintiff hereby incorporates by reference the prior paragraphs of this Complain t

as though fully set forth at length.

        18.      In 2010, Temple University hired Professor Harvey to serve as an Ass istant

Professor in the Beasley School of Law.




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             19.     1n Augu st 2014, Plaintiff began a four-year juri s doctorate program in the evening

     divi sion of Temple University 's Beasley School of Law.

             20.     In August 2014, Temple Law School personnel assigned Plaintiff to Professor

     Harvey' s class for instruction in contract law.

             A. History of Sexual Harassment of Plaintiff by Professor Harvey

             21.     In October 2014, Plaintiff visited Professor Harvey during his office hours to

     discuss a potential summer internship opportunity .

             22.     At that meeting , Professor Harvey steered the conversation with Plaintiff away

     from Plaintiff's professional pursuits and toward Plaintiffs personal life, particularly Plainti ff's

     pending divorce.

            23.     Professor Harvey urged Plaintiff to return to his office hours for additional advice

     concerning her divorce and family situation.

            24.     1n November 2014, when Plaintiff returned to see Professor Harvey during his

     office hours as he directed, Professor Harvey sought and obtained Plaintiffs private cell phone

     number and email address .

            25.     From November 2014 through May 2018, in person and via text message ,

 Professor Harvey repeatedly requested dates, sexual favors, and pictures from Plaintiff.

            26.     Professor Harvey made these requests for dates, sexual favors , and pictures from

 Plaintiff while he was employed by Temple University to educate Plaintiff in contract law and

 assess her fitness to receive her juris doctorate degree.

           27.     As a term of his employment , Professor Harvey was obligated to provid e

 educational service s to students in a manner that complied with Title IX of the Education
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Amendments of 1972, which prohibits sex discrimination in educational programs that receive

 federal funds.

        28.        Temple University provides educational programs that receive federal funds.

        29.        Plaintiff filed a Title IX complaint against Professor Harvey on May 23, 2018.

        30.        A Title IX investigation into complaint s made by Plainti ff against Professor

 Harvey found that Professor Harvey "more likely than not" sexually harassed Plaintiff in

 violation of Temple Univers ity's Policy of Preventing and Address ing Sexual Harassment while

 she was a student at Temple University.

        31.       As a result of the findings of the Title IX investigation, Valerie I. Harrison, Senior

 Advisor to the President for Equity, Diversity & Inclusion, referred the matter of Professor

 Harvey ' s violation of Temple University's policy to the Law School Dean for disciplinary

proceedings in March 20 19.

        32.       Professor Harvey resigned his lifetime tenured position as professor at Temple

University rather than proceed with a hearin g before Temple University's Law School

disciplinary committee.

        B. Sexua l Assaul t of Plaintiff by Professor Harvey on May 15-16, 2018

        33.       On or about May 8, 2018, Professor Harvey invited Plaintiff to meet him for

dinner and dancing on May 15, 20 18 in Atlantic City, New Jersey, where the New Jersey State

Bar Assoc iation was hosti ng its annual meeting .

       34.        Plaintiff accepted Professor Harvey ' s invitation .

       35.        Plaintiff met Profe ssor Harvey at Harrah's Hotel and Casino in Atlantic City ,

New Jersey at approximately 8:40 p.m. on May 15, 2018 .

       36 .       Professor Harvey had a drink waiting for Plaintiff when she arrived.




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            37.    Plaintiff con sumed the drink Professor Harvey provided to her .

            38.    Within minutes ofconsuming the beverage , Plaintiff exper ienced difficulty

  speakin g and moving voluntarily.

            39.    Plaintiff was overtaken with the sensation that she was floa ting outs ide of her

  body and did not have control of her physical being .

            40.    Plaintiffs condition continued to deteriorate while she and Professo r Harvey had

  dinner at a restaurant located inside Harrah's Hotel and Casino, with Plainti ff reversing normal

 grammatical word order and struggling to converse with Professor Harvey and the restaurant

 server.

           41.     When dinner concluded, Professor Harvey asked Plaintiff is she wanted to gam ble

 on the casino floor for a while.

           42.     Plaintiff told Professor Harvey she was not feeling well and needed to sit down .

           43.     Professor Harvey took Plaintiff to a suite he had reserv ed in Harrah's Hotel.

           44.     Once inside the hotel room, Plaintiff's condition continued to deteriorate and

 Plaintiff became less communicative and less able to move on her own volition.

           45.    Professor Harvey then became very aggressive with Plaintiff , forcing her to plac e

 her hands on a large picture window in the outer room of the suite and spread her legs apart so he

run his hands up her legs and under her dress without obstruction.

           46.    When Plaintiff resisted, Professor Harve y began shouting at Plaintiff in a loud and

threate ning manner that terrified Plaintiff and caused her to fear that Profes sor Harvey would

physically harm her.

        47.       Plaintiff remaine d physically and mentally unable to summon help throu ghout the

entire course of the evening .
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       48.     Professor Harvey ordered Plaintiff to sit on a sofa in the outer room of the suite .

       49.     Shortly thereafter, Plaintiff lost consciousness .

       50.     When she regained consciousness, Plaintiff discovered Professor Harvey on top

of her, kissing Plaintiff and touching her breasts and genital area without her consent.

       51.     Plaintiff lost consciousness.

       52.     When Plaintiff regained consciousness, Professor Harvey forced Plaintiff to stand

and then he steered her into the bedroom, pushing her from behind.

        53.    Plaintiff was terrified but unable to repel Professor Harvey physically.

        54.    Once in the bedroom , Plaintiff lost consciousness.

        55.    When she regained consciousness, Plaintiff discovered Professor Harvey had

removed articles of her clothing without her consent.

        56.     Plaintiff lost consciousness.

        57.     When Plaintiff regained consciousness, Plaintiff discovered Professor Harvey was

actively performing oral sex on her without her consent.

        58.     Plaintiff attempted to push herself away from Professor Harvey ' s reach , but was

unable to stop him from continuing to sexually assault her.

        59.     Plaintiff lost consciousness.

        60.     When she regained consciousness, Plaintiff discovered Professor Harvey was

forcefully penetrating her vagina with either his finger or a foreign object , which caused Plaintiff

considerable pain .

        61.     Plaintiff lost consciousness.

        62.     When she regained consciousness, Plaintiff discovered Professor Harvey was

actively kissing her while engag ing in vaginal intercourse without her consent.
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             63.     When Plaintiff objected to Professor Harvey engaging in vaginal intercourse

  without her consent , Professor Harvey became extremely angry with Plaintiff, causing her to fear

  he would physically harm her.

             64.     Plaintiff lost consciousness .

             65.    During a prolonged period of unconsciousness , Plaintiff believes Professor

  Harvey raped her anally based on injuries received on May 15, 2018, the night of the sexual

  assault.

             66.    Plaintiff experienced period when she was conscious but unable to move of her

 own volition.

         67.        During some periods when Plaintiff was conscious but unable to move of her own

 volition, Professor Harvey dragged Plaintiff by her hands and feet in order to move her into

 various positions for sex acts he perpetrated on her without her consent.

         68.        Throughout the night of May 15, 2018, when physically and mentally able,

 Plaintiff repeatedly told Professor Harvey to "stop" when he was raping her.

         69.        Throughout the night of May 15, 2018, when physically and mentally able,

 Plaintiff repeatedly told Professor Harvey she "did not want this" [the sexual assault he was

 perpetrating].

        70.        Throughout the night of May 15, 2018, when physically and mentally able,

Plaintiff repeatedly said, "No. No." to indicate to Professor Harvey she did not want him.to

continue raping her.

        71.        Professor Harvey was undeterred by Plaintiff's entreaties that he stop raping her.

        72.        At approximately 1:00 a.m. on May 16, 2018, Professor Harvey approached

Plaintiff with a glass containing an unknown substance.
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           73.    Professor Harvey demanded Plaintiff drink the contents of the glass.

           74.    Plaintiff resisted, telling Professor Harvey she would not drink anything .

           75.    Professor Harvey became agitated and forcefully insisted Plaintiff drink from the

 glass.

           76.    Fearing that Professor Harvey would physically harm her if she did not drink

 from the glass, Plaintiff was forced to drink some of the unknown contents as Professor Harvey

 physical hovered over her menacing ly.

           77.    Between 3 :00 a.m. and 6:00 a.m., Plaintiff drifted in and out of consciousness

 while Professor Harvey apparently slept.

           78.    At 6:00 a.m., Plaintiff attempted to get up to leave, but Professor Harvey angrily

 ordered Plaintiff to remain in bed.

           79.    Plaintiff was fearful of Professor Harvey and so complied .

           80.   At approximately 8:00 a.m., Plaintiff attempted to gather her personal effects in

 order to leave Professor Harvey's hotel room.

          81.    Professor Harvey noticed Plaintiff trying to leave the bedroom and became

noticeably agitated.

          82.    Professor Harvey prevented Plaintiff from leaving and made her return to his bed.

          83.    Plaintiff lost consciousness.

          84.    When she regained consciousness , Plaintiff discovered Professor Harvey actively

engaging in vaginal intercourse without her consent.

          85.    When he concluded raping Plaintiff , Professor Harvey instructed Plaintiff that she

could get dressed and leave.
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         86.     Plaintiff was unable to unlock the hotel door without Professor Harvey's

 assistance.

          87.    When Professor Harvey assisted her with opening the door, Plaintiff immediately

  departed the room for her car, which was parked in the parking lot of Harrah 's Hotel and Casino.

         88.     Plaintiff reached her car at approximately 11:50 a.m. on May 16, 2018.

         C. Retaliation Against Plaintiff by Professor Harvey For Plaintiff's Title IX Complaint

         89.     On May 23, 2018, Plaintiff reported to Temple University's Assistant Dean

 Deborah Feldman that she had been raped by Professor Harvey.

         90.     Assistant Dean Deborah Feldman responded, "I can 't say I'm surprised," upon

 hearing that Professor Harvey had allegedly raped Plaintiff.

         91.     Assistant Dean Feldman then summoned other law school personnel , including

 Title IX Coordinator Andrea Seiss, to hear Plaintiffs statement regarding the alleged sexual

 assault perpetrat ed by Professor Harvey against her.

        92.     Ms. Seiss advised Plaintiff as to her right to file a formal Title IX complaint

 against Professor Harvey .

        93.     On May 23, 2018, Plaintiff elected to initiate a formal Title IX complaint against

Professor Harve y.

        94.     Temple University hired outside counsel Renee N . Smith, Esquire of

Montgomery, McCracken Walker & Rhoads LLP to conduct the Title IX investigation .

        95.     The Title IX investigation extended from August 2018, when Plaintiff and

Professor Harvey made their initial statements to the independent investigator, until March 2019,

when the parties were made aware of the investigation ' s findings.
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          96.
                    On December 13, 2018 , Plaintiff and Plaintiffs sister, Christy Stokes, approached

  Profes sor Harv ey at The Rosenbach , where he was a guest speaker .

          97.      Following his presentation, Professor Harvey spoke with Plaintiff (with her sister

  nearby) and expressed his desire that Plaintiff withdraw her Title IX complaint at Temple

  University.

          98.      Professor Harvey told Plaintiff in a threatening manner that he had "played fair

  [with her] so far, but that did not have to continue."

         99.       At the time Plaintiff and Professor Harvey met in December 2018, Plaintiff had an

 application for admission to the Pennsylvania Bar under consideration with the Pennsylvania

 Board of Law Examiners.

         I 00.    Plaintiff had completed her application and had no reason to anticipate a problem

 with her candidacy, as Plaintiff had no criminal record, no driving infractions , good credit, and

 her juris doctorate degree .

         10I .    Plaintiff had also satisfied all requests for documentation from the Pennsylvani a

 Board of Law Examiners.

        I 02.     Plaintiff refused to withdraw her Title IX complaint against Professor Harvey

upon his request in December 2018.

        103.      Plaintiff believes Professor Harvey contacted the Pennsylvania Board of Law

Examiners and offered untrue , deliberately misleading , and unnecessarily derogatory information

about Plainti ff to those who were reviewing Plaintiffs application for admission to the

Pennsylvania Bar as an act of retaliation for Plaintiffs refusal to withdraw her Title IX

complaint against Professor Harvey.

       104.      Plainti ff took and passed the Pennsylvania Bar Exam in February 2019.
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         105 •    Plaintiff was subjected to a protracted investigation into her character and fitness

 after she received a passing score on the February 2019 Pennsylvania Bar Examination.

          106.    Plaintiff was not admitted to the Pennsylvania Bar until December 5, 2019.

                                                  COUNT!
                                                NEGLIGENCE

         107.     Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

 as though fully set forth at length.

         108.     Professor Harvey, as a Professor at Temple University, had a duty to Plaintiff to

 provide educational services without discriminating against Plaintiff on account of her gender or

 any other protected class status she might have enjoyed while a student at Temple University.

         109.     Professor Harvey sexually harassed Plaintiff on account of her gender during her

 matriculation at Temple University.

         110.     Professor Harvey breached his duty as an educator with respect to Plaintiff.

         111.    Professor Harvey had a duty to provide reasonable care to Plaintiff when he

 deliberately incapacitated her and held her in seclusion where Plaintiff could not seek help or

receive assistance from others.

        112.     Professor Harvey breached his duty to treat Plaintiff with reasonable care when he

deliberately secluded her from those who could potentially offer assistance.

        113.     As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical, emotional, and psychological injuries she suffered.

        114.     Professor Harvey ' s acts were negligent or showed a reckless indifference to

Plaintiff's rights , for which she is entitled to an award of compensatory and punitive damages .

                                                 COUNT II
                                        SEXUAL BATTERY(RAPE)
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           115 •     Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

  as though fully set forth at length .

           116.      Professor Harvey engaged in sexual acts and sexual intercourse with Plaintiff.

           117.      The sexual acts and sexual intercourse that occurred between Professor Harvey

  and Plaintiff occurred without Plaintiff's consent.

          118.       As a result of Professor Harvey ' s acts, Plaintiff has been damaged and brings

  these civil claims for the physical, emotional, and psychological injuries she suffered.

          119.      Professor Harvey's acts were intentional, done with malice, and/or showed a

  deliberate , willful, wanton, and reckless indifference to Plaintiff's rights, for which she is entitled

 to an award of compensatory and punitive damages.

                                                    COUNT Ill
                                                    ASSAULT

          120.      Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

 as though fully set forth at length.

         121.       Professor Harvey placed Plaintiff in fear of imminent bodily injury when he

 sexually assaulted her.

         122.      Professor Harvey placed Plaintiff in fear of imminent bodily injury when he

became aggressive and refused to let her leave his hotel room after raping her.

         123.      By intentionally causing Plaintiff to fear imminent bodily injury , Professor

Harvey assaulted Plaintiff.

        124.       As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical , emot ional , and psychological injuries she suffered .




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        125.    Professor Harvey's acts were intentional, done with malice, and/or showed a

deliberate , willful, wanton, and reckless indifference to Plaintiff's rights, for which she is entitled

to an award of compensatory and punitive damages.

                                                 COUNTIV
                                                 BATTERY

        126.    Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

as though fully set forth at length.

        127.    Professor Harvey dragged Plaintiff by her hands and feet without her consent.

        128.    Professor Harvey engaged in sexual acts and sexual intercourse that involved

touching Plaintiff without her consent.

        129.    By intentionally making physical contact with Plaintiff without her consent,

Professor Harvey committed a battery against Plaintiff.

        130.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical, emotional, and psychological injuries she suffered.

        131.    Professor Harvey's acts were intentional, done with malice, and/or showed a

deliberate, willful, wanton, and reckless indifference to Plaintiffs rights, for which she is entitled

to an award of compensatory and punitive damages.

                                              COUNTY
                                        FALSE IMPRISONMENT

        132.    Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

as though fully set forth at length.

        133.   Professor Harvey restrained Plaintiff such that she could not voluntarily leave the

room in which he sexually assaulted her.

       I 34.   Plaintiff did not consent to Professor Harvey ' s restrain t of her.
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        13 5.   Professor Harvey had no legal right to detain Plaintiff at any time on May 15-16,

2018.

        136.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical, emotional, and psychological injuries she suffered.

        137.    Professor Harvey's acts were intentional, done with malice, and/or showed a

deliberate , willful, wanton, and reckless indifference to Plaintiff's rights, for which she is entitled

to an award of compensatory and punitive damages.

                                      COUNT VI
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        138.    Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

as though fully set forth at length .

        139.    Professor Harvey's conduct in sexually harassing Plainti ff from October 2014 to

May 2018 while she was a student at Temple University was extreme and outrageous and caused

Plaintiff to suffer severe physical, emotional, and psychological harm.

        140.    Professor Harvey ' s conduct in raping Plaintiff and otherwise sexual ly assaulting

her in May 2018 as described above was extreme and outrageous and caused Plaintiff to suffer

severe physical, emotional, and psycho logical harm .

        141.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brin gs

these civil claims for the physical, emotional , and psychological injuries she suffered .

        142.    Professor Harvey's acts were intentiona l, done with malice, and/or showed a

deliberate, willful , wanton, and reckless indifference to Plaintiffs rights, for which she is entitle d

to an award of compensatory and punitive damages .

                                      COUNT VII
                     NEGLIGENT INFLICTION OF EMOTIONAL DIS TRESS




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                                               ..

            143.    Plaintiff hereby incorporates by reference the prior paragraph s ohms Complaint

    as though fully set forth at length.

            144.    Professor Harvey's conduct in sexually harassing Plainti ff from October 2014 to

    May 2018 while she was a student at Temple University was extreme and outrageous and caused

    Plaintiff to suffer severe physical, emotional , and psychological harm .

            145.    Professor Harvey ' s conduct in raping Plaintiff and otherwise sexually assaulting

    her in May 2018 as described above was extreme and outrageous and caused Plaintiff to suffer

    severe physical, emotional, and psychological harm.

            146.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

    these civil claims for the physical, emotional, and psychological injuries she suffered .

            147.    Professor Harvey's acts were negligent or showed a reckless indifference to

    Plaintiff's rights, for which she is entitled to an award of compensatory and punitiv e damages.

                                                  COUNT VIII
                                                 DEFAMATION

            148.    Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

    as though fully set forth at length.

            149.    At all times relevant hereto , Plaintiff was a law-abiding citizen who enjoyed the

    respect, confidence , and esteem of her neighbors , classmates, and others in the community .

            150.    At no time has Plaintiff ever been adjudged guilty of any crime , offense, or

    violation of law that would tend to lessen the respect, confidence, and esteem of others that she

    enjoyed and to which she was entitled .

            151.    Plaintiff believes Professor Harvey made false statements regarding Plainti ff to

    the Pennsylvania Bar Examiners.




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        152.    Plaintiff believes Professor Harvey made false statements to members of the

Temple University community and others regarding Plaintiff.

        153.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical, emotional, and psychological injuries she suffered.

        154.    Professor Harvey's acts were intentional, done with malice, and/or showed a

deliberate, willful, wanton, and reckless indifference to Plaintiffs rights, for which she is entitled

to an award of compensatory and punitive damages.

                                              COUNT IX
                                        INVASION OF PRIVACY

        155.    Plaintiff hereby incorporates by reference the prior paragraphs of this Complaint

as though fully set forth at length.

        156.    The unwanted and offensive sexual assault of Plaintiff by Professor Harvey was

an invasion of Plaintiffs physical solitude and privacy.

        157.    The unwanted and offensive sexual assault of Plaintiff by Professor Harvey gave

unwanted publicity to Plaintiffs private life.

        158.    The derogatory and defamatory comments made by Professor Harvey to the

Pennsylvania Bar Examiners placed Plaintiff in a false light.

        159.    As a result of Professor Harvey's acts, Plaintiff has been damaged and brings

these civil claims for the physical, emotional, and psychological injuries she suffered

        I 60.   Professor Harvey's acts were intentional, done with malice, and/or showed a

deliberate, willful, wanton, and reckless indifference to Plaintiffs rights, for which she is entitled

to an award of compensatory and punitive damages.




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                                            PRAYER FOR RELIEF

           WHEREFORE , Plaintiff respectfully requests that the Court grant her relief again st

    Defendant Hosea H. Harvey, III as follows:

           A.      An award of damages to be determined at trial to compensate PlaintiffBethAnn

    Morrison for all non-monetary and compensatory harm, including, but not limited to,

    compensatio n for her physical injuries, pain and suffering, humiliation , embarrassment, stress,

    anxiety, loss of self-estee m and self-confidence, and emotional pain and suffering;

           B.      An award of punitive damages in an amount to be determined at trial, sufficient to

    deter Defendant Hosea H. Harvey, III from engaging in future illegal and/or wrongful conduct ;

           C.      Such other and further relief as the Court may deem just and proper .


    Dated: January 26, 2021                               Respectfully submitted,




                                                          BethAnn Morrison
                                                          121 Overhill Avenue
                                                          Philadelphia, PA 19116
                                                          Phone: (215) 280-2353
                                                          Email: bethann. morrison. l@gmail.com




                                                                                                G1SC
                                                                                                   ID:'.!1f(X.J7&
          Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 21 of 38

,-


                                             VERIFICATION

            I, BethAnn Morrison, hereby verify that the statements made in the foregoing pleading

     are true and correct to the best of my information, knowledge, and belief . I understand that false

     statements herein are made subject to the penalties of 18 Pa. C.S. Section 4904, relating to

     unswom falsification to authorities.




     Date : January 26, 2021                Isl Be,H,vA~    /Vlo·vr~

                                            BethAnn Morrison




                                                                                                C1SeID.XXr(07&
         Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 22 of 38

r

                                 CERTIFICATE OF COMPLIANCE

           I certify that this filing complies with the provisions of the Public Access Policy of the

    Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

    require filing confidential information and documents differently than non-confidential

    information and documents.


                                                  Submitted by: BethAnn Morrison

                                                  Signature: /s/ BeA+vA~ fvlorv~

                                                  Name: BethAnn Morrison

                                                  Attorney No. (if applicable) :




                                                                                                 Case ID: 2oosoo7M
Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 23 of 38




EXHIBIT B
                   Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 24 of 38


1                                                                               Filed
                                                                                Filed and
                                                                                       and Attested
                                                                                             At    :eid by
                                                                                                        by the
                                                                                                           the
                                                                               Office
                                                                               Office off Judicial
                                                                                           ,  dicial h Records
                                                                                                       Records
2                                                                                  17
                                                                                   17 MAY
                                                                                        1Y 2021 02:33 pm
                                                                                        Vc
                                                                                          C. JONES '33 ”’"
3


4


5


6                            FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                            COURT OF COMMON PLEAS OF PHILADALPHIA
7


 8
       BETHANN MORRISON,                                             No. 00768
 9
                                                        Plaintiff,   DECLARATION OF SERVICE
10
                                      Vs.
11
       TEMPLE          UNIVERSITY           and     HOSEA      H.
12     HARVEY, III


13                                                  Defendant(s),


14

              1.   I, MICHAEL W. GRAHAM, of Pierce County, State of Washington, do hereby
15
                   certify under penalty of perjury under the laws of the state of Washington that the
16
                   following is true and correct;
17
              I am over eighteen years of age and competent to testify as to the matters herein;

18   I received one copy of:

19
                       Notice to Defendant
20
                   •   Complaint - Civil Action

21                     Verification

22                 •   Certificate of Compliance


23


24

                                                                         KKWT Process Services.
                                                                                  P.O. Box 4623
     Declaration Of Service
     Page 1
                                                                               Spanaway, Wa 98387
                                                                                  (253)565-6670     Case
                                                                                                    Case ID:
                                                                                                         ID: 200500768
                                                                                                             200500768
                   Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 25 of 38


 1
              2.   The documents listed above       in Paragraph 1 - was served to : HOSEA H.

 2
                   HARVEY, HL,            documents were served upon:

 3                                                               a Defendant listed above.

 4                                                          a person of suitable age and discretion who

     is a resident at the usual place of abode of the individual named above according to the RCW
 5
     4.28.080.
 6
              3 . Service took place on the             day of            X,                         2021 at
 7
                   the hour of    ^>(25 fpan)/a.m., within the County of                                  .5



 8                 State of Washington, the following address:


 9            256 E. ROANOKE ST, SEATTLE, WA 98102


10
     DATED this                  day of
11


12
                                                        Michael W. Graham
13                                                      Registered Process Server
                                                        License #: 12657
                                                        KKWT Process Services
14
                                                        P.O. Box 4623
                                                        Spanaway, WA 98387
15


16


17


18


19


20


21


22


23


24


                                                                           KKWT Process Services.
     Declaration Of Service                                                        P.O. Box 4623
                                                                                Spanaway, Wa 98387
     Page 2
                                                                                                     Case
                                                                                                     Case ID:
                                                                                                          ID: 200500768
                                                                                   (253)565-6670
                                                                                                              200500768
Case 2:21-cv-02616 Document 1-2 Filed 06/09/21 Page 26 of 38




     EXHIBIT C
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 27 of 38
                                                                     Report


                                                                                                                   No Items in Cart
                                                                                                                     Civil Docket Report
                                                                              A $5 Convenience fee will be added to the transaction at checkout.
  Case Description

    Case ID:                  200500768
    Case Caption:             MORRISON VS TEMPLE UNIVERSITY ETAL
    Filing Date:              Wednesday, May 13th, 2020
    Court:                    MAJOR JURY-EXPEDITED
    Location:                 City Hall
    Jury:                     JURY
    Case Type:                MISC SUMMONS
    Status:                   LISTED FOR CASE MGMT CONF

  Related Cases

  No related cases were found.

  Case Event Schedule

                        Event                              Date/Time             Room                  Location                    Judge
   CASE MANAGEMENT                                       22-JUN-2021 City                  Case Management Center,              unassigned
   CONFERENCE                                            09:00 AM    Hall                  Rm 613


  Case motions

  No case motions were found.

  Case Parties

                                                                               Expn
           Seq #                                                  Assoc                     Type                         Name
                                                                               Date
                 1                                                                          PRO SE FILER                 MORRISON,
                                                                                                                         BETHANN
   Address: 121 OVERHILL AVENUE                                                 Aliases: none
            PHILADELPHIA PA 19116
            (215)280-2353


                 2                                                        1                 PLAINTIFF                    MORRISON,
                                                                                                                         BETHANN
   Address: 121 OVERHILL AVENUE                                                 Aliases: none
            PHILADELPHIA PA 19116



https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                                      1/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 28 of 38
                                                                     Report

                 3                                   6 04-FEB- DEFENDANT                    TEMPLE
                                                        2021                                UNIVERSITY
   Address: OFFICE OF UNIVERSITY                                            Aliases: none
            COUNSEL
            300 SULLIVAN HALL
            1330 W. POLETT WALK
            PHILADELPHIA PA 19122


                 4                                                                    DEFENDANT        HARVEY III,
                                                                                                       HOSEA H
   Address: 939 WESTLAKE AVENUE N                                           Aliases: none
            SEATTLE WA 98109


                 5                                                                    TEAM LEADER      NEW, ARNOLD
                                                                                                       L
   Address: 606 CITY HALL                                                   Aliases: none
            PHILADELPHIA PA 19107
            (215)686-7260


                 6                                                          04-FEB-   ATTORNEY FOR     HAMBURG,
                                                                            2021      DEFENDANT        NEIL J
   Address: HAMBURG LAW GROUP, PLLC                                         Aliases: none
            1 FRANKLIN TOWN BLVD
            STE. 1106
            PHILADELPHIA PA 19103
            (215)858-2225
            hamburgnj@hamburglawgroup.com


                 7                                                        6 04-FEB-   ATTORNEY FOR     PATEL, ALPA
                                                                            2021      DEFENDANT
   Address: HAMBURG LAW GROUP, PLLC                                         Aliases: none
            1 FRANKLIN TOWN BLVD
            SUITE 1106
            PHILADELPHIA PA 19103
            (812)240-9674
            patela@hamburglawgroup.com


  Docket Entries

   Filing                                                                                     Disposition Approval/
                            Docket Type                                    Filing Party
   Date/Time                                                                                     Amount Entry Date
   13-MAY-2020              ACTIVE CASE                                                                  14-MAY-2020
   02:11 PM                                                                                              09:17 AM

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                                2/12
6/9/2021              Case 2:21-cv-02616 Document 1-2    Filed
                                                  Civil Docket   06/09/21 Page 29 of 38
                                                               Report

              Docket E-Filing Number: 2005016361
               Entry:


   13-MAY-2020              COMMENCEMENT CIVIL                            MORRISON,       14-MAY-2020
   02:11 PM                 ACTION JURY                                   BETHANN         09:17 AM
      Documents:                Click link(s) to preview/purchase the documents
                             Final Cover


              Docket
                      none.
               Entry:


   13-MAY-2020              PRAE TO ISSUE WRIT OF                         MORRISON,       14-MAY-2020
   02:11 PM                 SUMMONS                                       BETHANN         09:17 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Morrison-Praecipe for Writ of Summons 5-13-2020.pdf
                             Morrison-Writ of Summons.pdf

              Docket PRAECIPE TO ISSUE WRIT OF SUMMONS FILED. WRIT OF SUMMONS
               Entry: ISSUED.


   13-MAY-2020              JURY TRIAL PERFECTED                          MORRISON,       14-MAY-2020
   02:11 PM                                                               BETHANN         09:17 AM
              Docket
                      12 JURORS REQUESTED.
               Entry:


   13-MAY-2020              WAITING TO LIST CASE                          MORRISON,       14-MAY-2020
   02:11 PM                 MGMT CONF                                     BETHANN         09:17 AM
              Docket
                      none.
               Entry:


   22-JUN-2020              ENTRY OF APPEARANCE                           HAMBURG, NEIL   23-JUN-2020
   03:51 PM                                                               J               09:42 AM
      Documents:               Click link(s) to preview/purchase the documents
                             entry of appearance - NJH and AP.pdf


              Docket ENTRY OF APPEARANCE OF ALPA PATEL AND NEIL J HAMBURG FILED.
               Entry: (FILED ON BEHALF OF TEMPLE UNIVERSITY)


   01-JUL-2020              PRAECIPE TO REISSUE                           MORRISON,       01-JUL-2020
   01:46 PM                 SUMMONS                                       BETHANN         01:46 PM
      Documents:               Click link(s) to preview/purchase the documents
                             Praecipe to Reinstate.pdf
                             Morrison-May Term 2020-000768-Writ for Reinstatement.pdf
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 3/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 30 of 38
                                                                     Report


              Docket PREACIPE TO REISSUE WRIT OF SUMMONS FILED. WRIT REISSUED. (FILED
               Entry: ON BEHALF OF BETHANN MORRISON)


   09-OCT-2020              LISTED FOR CASE MGMT                                                09-OCT-2020
   12:10 PM                 CONF                                                                12:10 PM
              Docket
                      none.
               Entry:


   13-OCT-2020              NOTICE GIVEN                                                        13-OCT-2020
   12:30 AM                                                                                     12:30 AM
              Docket
                      none.
               Entry:


   17-OCT-2020              PRAECIPE TO REISSUE                           MORRISON,             19-OCT-2020
   02:23 PM                 SUMMONS                                       BETHANN               07:30 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Praecipe to Reinstate 10-17-2020 May Term 2020 No
                             000768.pdf
                             Writ of Summons-Reinstated-Timestamped.pdf

              Docket PREACIPE TO REISSUE WRIT OF SUMMONS FILED. WRIT REISSUED. (FILED
               Entry: ON BEHALF OF BETHANN MORRISON)


   19-OCT-2020              ACCEPTANCE OF SERVICE                         PATEL, ALPA           19-OCT-2020
   10:41 AM                 FILED                                                               12:45 PM
      Documents:               Click link(s) to preview/purchase the documents
                             09 acceptance of service.pdf


                      SERVICE OF PLAINTIFF'S WRIT OF SUMMONS ACCEPTED BY TEMPLE
              Docket
                      UNIVERSITY AND ALPA PATEL ON 10/19/2020 FILED. (FILED ON BEHALF OF
               Entry:
                      TEMPLE UNIVERSITY)


   19-OCT-2020              CASE RESCHEDULED BY                           ITALIANO,             19-OCT-2020
   01:08 PM                 COURT                                         THERESA               01:08 PM
              Docket CASE MANAGEMENT ORDER ISSUANCE DATE CONTINUED PER JOINT
               Entry: REQUEST.


   19-OCT-2020              LISTED FOR CASE MGMT                                                19-OCT-2020
   01:11 PM                 CONF                                                                01:11 PM
              Docket
                      none.
               Entry:


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                       4/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 31 of 38
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   19-OCT-2020              NOTICE GIVEN                                                        19-OCT-2020
   01:11 PM                                                                                     01:11 PM
      Documents:               Click link(s) to preview/purchase the documents
                             NOTGV_14.pdf


              Docket
                      none.
               Entry:


   19-OCT-2020              NOTICE GIVEN UNDER                                                  20-OCT-2020
   01:11 PM                 RULE 236                                                            04:13 PM
              Docket NOTICE GIVEN ON 20-OCT-2020 OF NOTICE GIVEN ENTERED ON 19-OCT-
               Entry: 2020.


   21-OCT-2020              NOTICE GIVEN                                                        21-OCT-2020
   12:30 AM                                                                                     12:30 AM
              Docket
                      none.
               Entry:


   23-NOV-2020              CASE RESCHEDULED BY                           ORVIK, ERIK           23-NOV-2020
   04:54 PM                 COURT                                                               04:54 PM
              Docket
                      PLAINTIFF TO FILE COMPLAINT.
               Entry:


   23-NOV-2020              LISTED FOR CASE MGMT                                                23-NOV-2020
   04:56 PM                 CONF                                                                04:56 PM
              Docket
                      none.
               Entry:


   23-NOV-2020              NOTICE GIVEN                                                        23-NOV-2020
   04:56 PM                                                                                     04:56 PM
      Documents:               Click link(s) to preview/purchase the documents
                             NOTGV_19.pdf


              Docket THE CASE MANAGEMENT CONFERENCE FOR THE ABOVE CAPTIONED
               Entry: MATTER HAS BEEN RESCHEDULED FOR Wednesday, December 30, 2020, AT
                      09:00 AM, IN Case Management Center, Rm 613, CITY HALL. NO FURTHER
                      CONTINUANCES WILL BE GRANTED ABSENT EXIGENT CRCUMSTANCES.
                      COUNSEL FOR PLAINTIFF IS DIRECTED TO SERVE A COPY OF THIS NOTICE
                      ON ANY UNREPRESENTED PARTY AND ANY ATTORNEY ENTERING AN
                      APPEARANCE SUBSEQUENT TO THE ISSUANCE OF THIS NOTICE. COUNSEL
                      MUST BE PREPARED TO ADDRESS ALL RELEVANT ISSUES. IF THE CASE
                      SETTLED PRIOR TO THE CONFERENCE, ELECTRONICALLY FILE A
                      SETTLEMENT LETTER. TO FILE THE LETTER ELECTRONICALLY, ACCESS THE
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                       5/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 32 of 38
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                            "EXISTING CASE" SECTION OF THE COURT'S ELECTRONIC FILING SYSTEM.
                            SELECT "CONFERENCE SUBMISSIONS" AS THE FILING CATEGORY. SELECT
                            "SETTLEMENT LETTER" AS THE DOCUMENT TYPE. QUESTIONS
                            CONCERNING THIS NOTICE AND ITS CONTENTS SHALL BE REFERRED TO
                            215-686-3710.


   23-NOV-2020              NOTICE GIVEN UNDER                                                  25-NOV-2020
   04:56 PM                 RULE 236                                                            10:55 AM
              Docket NOTICE GIVEN ON 25-NOV-2020 OF NOTICE GIVEN ENTERED ON 23-NOV-
               Entry: 2020.


   25-NOV-2020              NOTICE GIVEN                                                        25-NOV-2020
   12:30 AM                                                                                     12:30 AM
              Docket
                      none.
               Entry:


   30-DEC-2020              WAITING TO LIST RULE                          ORVIK, ERIK           30-DEC-2020
   10:37 AM                 DATE                                                                10:38 AM
              Docket APL. FAILED TO FILE COMPLAINT AFTER MULTIPLE LISTINGS FOR CASE
               Entry: MANAGEMENT REVIEW.


   05-JAN-2021              RULE ISSUED                                   NEW, ARNOLD L         05-JAN-2021
   12:49 PM                                                                                     12:00 AM
      Documents:               Click link(s) to preview/purchase the documents
                             RLFIS_23.pdf


                      a rule is hereby issued to show cause why this matter should not be non-prossed for
                      failure to file a complaint in a timely manner. Rule Returnable via Virtual Courtroom
                      video-conference on January 27th , 2021 at 10:00 a.m. All counsel and
                      unrepresented parties shall appear via video-conference unless the case is settled
              Docket
                      withdrawn, or a complaint is filed. If this case is settled, withdrawn, or a complaint is
               Entry:
                      filed, counsel must notify the court immediately in writing and upon proper
                      notification, the Rule will automatically be dissolved. IT IS FURTHER ORDERED as
                      follows: SEE ORDER FOR COMPLETE TERMS. ...BY THE COURT: NEW, JUDGE
                      01/05/2021


   05-JAN-2021              NOTICE GIVEN UNDER                                                  05-JAN-2021
   12:49 PM                 RULE 236                                                            01:53 PM
              Docket
                      NOTICE GIVEN ON 05-JAN-2021 OF RULE ISSUED ENTERED ON 05-JAN-2021.
               Entry:


   05-JAN-2021              LISTED RULE RETURNABLE                                              05-JAN-2021
   12:52 PM                 DATE                                                                12:52 PM
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                       6/12
6/9/2021              Case 2:21-cv-02616 Document 1-2    Filed
                                                  Civil Docket   06/09/21 Page 33 of 38
                                                               Report

              Docket none.
               Entry:


   11-JAN-2021              STIPULATION FILED                             HAMBURG, NEIL   11-JAN-2021
   10:10 AM                                                               J               10:38 AM
      Documents:                Click link(s) to preview/purchase the documents
                             Final Fully Executed Stipulation of Dismissal.pdf


                      21-21010721 STIPULATION TO SETTLE AND DISCONTINUE LAWSUIT AGAINST
              Docket
                      DEFENDANT TEMPLE UNIVERSITY ONLY FILED. AWAITING JUDICIAL
               Entry:
                      APPROVAL (FILED ON BEHALF OF TEMPLE UNIVERSITY)


   11-JAN-2021              STIPULATION ASSIGNED                                          11-JAN-2021
   12:18 PM                                                                               12:18 PM
              Docket 21-21010721 STIPULATION FILED ASSIGNED TO JUDGE: NEW, ARNOLD L. ON
               Entry: DATE: JANUARY 11, 2021


   27-JAN-2021              ORDER ENTERED/236                             NEW, ARNOLD L   27-JAN-2021
   11:49 AM                 NOTICE GIVEN                                                  12:00 AM
      Documents:              Click link(s) to preview/purchase the documents
                             ORDER_28.pdf


                      IT IS HEREBY ORDERED AND DECREED THE RULE, LISTED FOR 27TH OF
                      JANUARY , 2021 IS DISSOLVED. THE CASE MANAGEMENT ORDER ISSUANCE
                      DATE FOR THE ABOVE CAPTIONED MATTER HAS BEEN RESCHEDULED FOR
                      FEBRUARY 22ND, 2021 , AFTER WHICH A CASE MANAGEMENT ORDER WILL
              Docket BE ISSUED BY A CIVIL CASE MANAGER SUBSEQUENT TO A REVIEW OF THE
               Entry: ELECTRONIC COURT RECORD , CIVIL DOCKET AND CASE MANAGEMENT
                      MEMORANDA. ATTENDANCE BY ALL COUNSEL OF RECORD AND
                      UNREPRESENTED PARTIES IS WAIVED. NO CASE MANAGEMENT
                      CONFERENCE WILL BE HELD IN CITY HALL. ....BY THE COURT: NEW, JUDGE
                      01/27/2021


   27-JAN-2021              NOTICE GIVEN UNDER                                            27-JAN-2021
   11:49 AM                 RULE 236                                                      04:42 PM
              Docket NOTICE GIVEN ON 27-JAN-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 27-JAN-2021.


   27-JAN-2021              WAITING TO LIST CASE                          NEW, ARNOLD L   27-JAN-2021
   11:50 AM                 MGMT CONF                                                     11:50 AM
              Docket
                      none.
               Entry:


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 7/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 34 of 38
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   27-JAN-2021              LISTED FOR CASE MGMT                                              27-JAN-2021
   11:51 AM                 CONF                                                              11:51 AM
              Docket
                      none.
               Entry:


   27-JAN-2021              COMPLAINT FILED NOTICE                        MORRISON,         27-JAN-2021
   12:34 PM                 GIVEN                                         BETHANN           12:00 AM
      Documents:              Click link(s) to preview/purchase the documents
                             CMPLT_31.pdf


              Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
               Entry: SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


   29-JAN-2021              NOTICE GIVEN                                                    29-JAN-2021
   12:30 AM                                                                                 12:30 AM
              Docket
                      none.
               Entry:


   04-FEB-2021              STIPULATION APPROVED                          NEW, ARNOLD L     04-FEB-2021
   11:46 AM                                                                                 11:46 AM
      Documents:               Click link(s) to preview/purchase the documents
                             STPAP_34.pdf


                      21-21010721 STIPULATION TO SETTLE AND DISCONTINUE LAWSUIT AGAINST
                      DEFENDANT TEMPLE UNIVERSITY ONLY. SEE STIPULATION FOR COMPLETE
              Docket
                      TERMS. STIPULATION APPROVED AS TO THE DISCONTINUANCE OF
               Entry:
                      DEFENDANT, TEMPLE UNIVERSITY. ...BY THE COURT: NEW, JUDGE
                      02/04/2021


   04-FEB-2021              NOTICE GIVEN UNDER                                              04-FEB-2021
   11:46 AM                 RULE 236                                                        06:31 PM
              Docket NOTICE GIVEN ON 04-FEB-2021 OF STIPULATION APPROVED ENTERED ON
               Entry: 04-FEB-2021.


   19-FEB-2021              ATTEMPTED SERVICE -                           MORRISON,         22-FEB-2021
   03:22 PM                 NOT FOUND                                     BETHANN           10:01 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Morrison v HHH-Return of Non-service 11-12-2020.pdf


              Docket HOSEA H HARVEY NOT FOUND ON 11/01/2020. (FILED ON BEHALF OF
               Entry: BETHANN MORRISON)


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                     8/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 35 of 38
                                                                     Report

   19-FEB-2021              ATTEMPTED SERVICE -        MORRISON,                              22-FEB-2021
   03:26 PM                 NOT FOUND                  BETHANN                                10:02 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Morrison v HHH-Return of Non-Service 11-27-2020.pdf


              Docket HOSEA H HARVEY NOT FOUND ON 11/15/2020. (FILED ON BEHALF OF
               Entry: BETHANN MORRISON)


   22-FEB-2021              CASE RESCHEDULED BY                           LAWLOR, BRIAN     22-FEB-2021
   12:32 PM                 COURT                                                           12:32 PM
              Docket
                      PLTF TO SERVE COMPLAINT UPON REMAINING DEF.
               Entry:


   22-FEB-2021              LISTED FOR CASE MGMT                                            22-FEB-2021
   12:33 PM                 CONF                                                            12:33 PM
              Docket
                      none.
               Entry:


   22-FEB-2021              NOTICE GIVEN                                                    22-FEB-2021
   12:33 PM                                                                                 12:33 PM
      Documents:               Click link(s) to preview/purchase the documents
                             CLNGV_40.pdf


                      THE CASE MANAGEMENT CONFERENCE FOR THE ABOVE CAPTIONED
                      MATTER HAS BEEN RESCHEDULED FOR Monday, April 19, 2021, AT 01:00 PM,
                      IN Case Management Center, Rm 613, CITY HALL. NO FURTHER
                      CONTINUANCES WILL BE GRANTED ABSENT EXIGENT CRCUMSTANCES.
                      COUNSEL FOR PLAINTIFF IS DIRECTED TO SERVE A COPY OF THIS NOTICE
                      ON ANY UNREPRESENTED PARTY AND ANY ATTORNEY ENTERING AN
                      APPEARANCE SUBSEQUENT TO THE ISSUANCE OF THIS NOTICE. COUNSEL
              Docket
                      MUST BE PREPARED TO ADDRESS ALL RELEVANT ISSUES. IF THE CASE
               Entry:
                      SETTLED PRIOR TO THE CONFERENCE, ELECTRONICALLY FILE A
                      SETTLEMENT LETTER. TO FILE THE LETTER ELECTRONICALLY, ACCESS THE
                      "EXISTING CASE" SECTION OF THE COURT'S ELECTRONIC FILING SYSTEM.
                      SELECT "CONFERENCE SUBMISSIONS" AS THE FILING CATEGORY. SELECT
                      "SETTLEMENT LETTER" AS THE DOCUMENT TYPE. QUESTIONS
                      CONCERNING THIS NOTICE AND ITS CONTENTS SHALL BE REFERRED TO
                      215-686-3710.


   22-FEB-2021              NOTICE GIVEN UNDER                                              23-FEB-2021
   12:33 PM                 RULE 236                                                        03:10 PM
              Docket NOTICE GIVEN ON 23-FEB-2021 OF NOTICE GIVEN ENTERED ON 22-FEB-
               Entry: 2021.


https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                     9/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 36 of 38
                                                                     Report

   23-FEB-2021              RETURNED MAIL RECEIVED                                            23-FEB-2021
   09:39 AM                                                                                   12:00 AM
      Documents:              Click link(s) to preview/purchase the documents
                             MAILR_41.pdf


                      RETURNED MAIL ORDER DATED 01/27/21 AS UNDELIVERABLE AT THE
              Docket
                      ADDRESS ON FILE WITH THE COURT TO THE FOLLOWING PARTY: HOSEA H
               Entry:
                      HARVEY.


   24-FEB-2021              NOTICE GIVEN                                                    24-FEB-2021
   12:30 AM                                                                                 12:30 AM
              Docket
                      none.
               Entry:


   22-APR-2021              WAITING TO LIST RULE                          ITALIANO,         22-APR-2021
   08:02 PM                 DATE                                          THERESA           08:02 PM
              Docket
                      none.
               Entry:


   27-APR-2021              RULE ISSUED                                   NEW, ARNOLD L     27-APR-2021
   10:14 AM                                                                                 12:00 AM
      Documents:               Click link(s) to preview/purchase the documents
                             RLFIS_45.pdf


                      A RULE IS HEREBY ISSUED TO SHOW CAUSE WHY THIS MATTER SHOULD
                      NOT BE NON-PROSSED FOR FAILURE TO EFFECTUATE SERVICE AND/OR
                      FILE A MOTION FOR ALTERNATIVE SERVICE. RULE RETURNABLE VIA
                      VIRTUAL COURTROOM VIDEO-CONFERENCE ON May 19th , 2021 AT 10:00
                      A.M. ALL COUNSEL AND UNREPRESENTED PARTIES SHALL APPEAR VIA
                      VIDEO-CONFERENCE UNLESS THE CASE IS SETTLED WITHDRAWN,
              Docket
                      SERVICE IS EFFECTUATED, OR A MOTION FOR ALTERNATE SERVICE IS
               Entry:
                      FILED. IF THIS CASE IS SETTLED, WITHDRAWN, SERVICE IS EFFECTUATED,
                      OR A MOTION FOR ALTERNATE SERVICE IS FILED, COUNSEL MUST NOTIFY
                      THE COURT IMMEDIATELY IN WRITING AND UPON PROPER NOTIFICATION,
                      THE RULE WILL AUTOMATICALLY BE DISSOLVED. IT IS FURTHER ORDERED
                      AS FOLLOWS: SEE ORDER FOR COMPLETE TERMS. ?BY THE COURT: NEW,
                      JUDGE 04/27/2021


   27-APR-2021              NOTICE GIVEN UNDER                                              28-APR-2021
   10:14 AM                 RULE 236                                                        08:47 AM
              Docket
                      NOTICE GIVEN ON 28-APR-2021 OF RULE ISSUED ENTERED ON 27-APR-2021.
               Entry:


   27-APR-2021              LISTED RULE RETURNABLE                                          27-APR-2021
https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                 10/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 37 of 38
                                                                     Report

   10:15 AM                 DATE                                                              10:15 AM
              Docket
                      none.
               Entry:


   10-MAY-2021              PRAECIPE TO REINSTATE                         MORRISON,          10-MAY-2021
   05:08 AM                 CMPLT                                         BETHANN            10:27 AM
      Documents:               Click link(s) to preview/purchase the documents
                             Morrison v HHH-Praecipe to Reinstate Complaint.pdf
                             Morrison v HHH-Complaint-Timestamped 1-27-2021.pdf

                      COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
              Docket
                      SERVICE IN ACCORDANCE WITH RULE 1018.1 REINSTATED. (FILED ON
               Entry:
                      BEHALF OF BETHANN MORRISON)


   17-MAY-2021              AFFIDAVIT OF SERVICE                          MORRISON,          17-MAY-2021
   02:33 PM                 FILED                                         BETHANN            03:44 PM
      Documents:               Click link(s) to preview/purchase the documents
                             Morrison v HHH-Affidavit of Service.pdf


                      AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON HOSEA H
              Docket
                      HARVEY BY PERSONAL SERVICE ON 05/13/2021 FILED. (FILED ON BEHALF
               Entry:
                      OF BETHANN MORRISON)


   18-MAY-2021              LISTED FOR CASE MGMT                                             18-MAY-2021
   01:08 PM                 CONF                                                             01:08 PM
              Docket
                      none.
               Entry:


   18-MAY-2021              ORDER ENTERED/236                             NEW, ARNOLD L      18-MAY-2021
   01:08 PM                 NOTICE GIVEN                                                     01:08 PM
      Documents:              Click link(s) to preview/purchase the documents
                             ORDER_51.pdf


                      IT IS HEREBY ORDERED AND DECREED THE RULE, LISTED FOR 19TH OF
                      MAY, 2021 IS DISSOLVED. THE CASE MANAGEMENT ORDER ISSUANCE DATE
                      FOR THE ABOVE CAPTIONED MATTER HAS BEEN RESCHEDULED FOR JUNE
                      22 , 2021 , AFTER WHICH A CASE MANAGEMENT ORDER WILL BE ISSUED BY
              Docket
                      A CIVIL CASE MANAGER SUBSEQUENT TO A REVIEW OF THE ELECTRONIC
               Entry:
                      COURT RECORD , CIVIL DOCKET AND CASE MANAGEMENT MEMORANDA.
                      ATTENDANCE BY ALL COUNSEL OF RECORD AND UNREPRESENTED
                      PARTIES IS WAIVED. NO CASE MANAGEMENT CONFERENCE WILL BE HELD
                      IN CITY HALL. ....BY THE COURT: NEW, JUDGE 05/18/2021


   18-MAY-2021              NOTICE GIVEN UNDER                                               19-MAY-2021

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                  11/12
6/9/2021                    Case 2:21-cv-02616 Document 1-2    Filed
                                                        Civil Docket   06/09/21 Page 38 of 38
                                                                     Report

   01:08 PM                 RULE 236                                                          04:08 PM
              Docket NOTICE GIVEN ON 19-MAY-2021 OF ORDER ENTERED/236 NOTICE GIVEN
               Entry: ENTERED ON 18-MAY-2021.


   20-MAY-2021              NOTICE GIVEN                                                     20-MAY-2021
   12:30 AM                                                                                  12:30 AM
              Docket
                      none.
               Entry:




                                                                          Search Home




https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_frames                                  12/12
